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               Exhibit B
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                                                                                                        FIRST cmcurr C6u0t.
                                                                                                                   1r
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  Attorney for Plaintiff                                                                                      N. .1!"(ATA
                                                                                                                CI.
                     IN THE CIRCUIT COURT OF THE FIRST CIRCUIT

                                        STATE OF HAWAII



  MIGNONETTE OLIVAS                   ) CIVIL NO. 19-1-0105-01 GWBC
                                      )(Other Civil Action)
                  Plaintiff,          )
        vs.                           )
                                      )
  CUTTER CJD,Inc.(d/b/a  CUTTER DODGE ) AMENDED COMPLAINT; EXHIBITS A
  CHRYSLER JEEP PEARL CITY),FCA US, ) — E; VERIFICATION OF COMPLAINT;
  LLC (d/b/a CHRYSLER CORPORATION and ) SUMMONS
  CHRYSLER GROUP LLC),and DOE         )
  DEFENDANTS 1-10,                    )
                                      )
                                      )
                   Defendants.
                                      )
                                      )



                                     AMENDED COMPLAINT


         Plaintiff, by and through her undersigned counsel, and pursuant to HRCP 15(a)(1)for her

  Amended Complaint against the Defendants, Cutter CJD,Inc., et. al.("Defendants") who have

  not served a responsive pleading in this matter, files this signed Amended Complaint and brings

  this action against the Defendants alleging as follows:

                                   JURISDICTION AND VENUE

         1.      The action arises out of Defendant CUTTER DODGE CHRYSLER JEEP PEARL

  CITY's sale to Plaintiff of an unsafe vehicle, and its failure to properly and timely replace the


                                                                                   that this is a full, true, and
                                                                I do hereby certify original on file in this office.
                                                                             of the
                  SUMMONS                                       correct copy

                                                    1                             Clerk         -Court, First Citcuit
                   DENIED
                   v7AL DOCUMENTS i*)                                                                        EXHIBIT "B"
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  safety defects. FCA US,LLC(formerly known as Chrysler Corporation)is the manufacturer of

  the vehicle. In part, this is a complaint under HawaiTs"Lemon Law" statute.

         2.       The declaratory relief prayed for in this action is provided by the Hawaii Revised

  Statute("HRS")§632-1 and Rule 57 ofthe Hawaii Rules of Civil Procedure("HRCP"). The

  injunctive relief prayed for in this action is authorized by HRS §§ 603-21.9 and 603-23.

         3.       This court has jurisdiction over this action under HRS §§ 603-21.5 and 603-21.9.

         4.      The claims underlying this action arose in the State of Hawai`i. Venue is

  appropriate pursuant to HRS § 603-36.

                                               PARTIES

         5.      Plaintiff Mignonette Olivas (hereinafter "Plaintiff' or "Ms. Olivas") is a resident

  ofthe State of Hawai`i, and is a consumer for all purposes relevant herein.

         6.       Defendant CUTTER CJD,Inc. d/b/a CUTTER DODGE JEEP CHRYSLER

  PEARL CITY (hereinafter"CUTTER"or "Defendant CUTTER")is the dealership and

  corporation that sold the subject vehicle to Plaintiff. CUTTER is organized in Hawai'i and can

  be served through its registered agent Marc Cutter, 677 Ala Moana BLVD,STE. 808, Honolulu,

  Hawaii 96813.

         7.      In October 2014, Fiat Group and Chrysler Group merged to create Fiat Chrysler

  Automobiles. Chrysler Group, LLC was renamed to FCA US,LLC (hereinafter"FCA US"or

 "Defendant FCA US")on or about December 2014 to follow the naming convention of its global

  parent Fiat Chrysler Automobiles N.V. Defendant FCA US is a business entity incorporated in

  the State of Delaware and regularly conducts and transacts business in the State of Hawai`i,

  either by itself or through one or more subsidiaries, affiliates, business divisions, or business

  units. Defendant FCA US's address is FCA US,LLC,PO Box 21-8004, Auburn Hills, Michigan




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  48321. Defendant FCA US can be served through its registered agent The Corporation Trust

  Company, Corporation Trust Center, 1136 Union Mall, Suite 301, Honolulu, Hawaii,96813.

         8.       At all times relevant herein, Defendants were and are corporations doing business

  in the State of Hawaii and are subject to the jurisdiction of this Court. All actions taken by

  Defendants' employees in the course ofevents described herein were taken within the course of

  their employment with Defendants.

         9.       Doe Defendants 1-10 are persons, corporations, entities or governmental units

  whose names, identities, capacities, activities and/or responsibilities are presently unknown to

  Plaintiff except that they are connected in some manner with and/or were agents, servants,

  employees, employers, representatives, co-venturers, associates, vendors, subcontractors or

  contractors, assignees and/or licensees ofone or both CUTTER and Chrysler and/or were in

  some manner presently unknown to Plaintiff engaged in the activities alleged herein and/or

  participated, aided, assisted, and/or furnished the means for Defendants' wrongful conduct

  described herein, and/or are in some manner responsible for the damages to Plaintiff. Plaintiff

  prays for leave to insert herein their true names, identities, capacities, activities, and/or

  responsibilities when the same are ascertained.

                                SUMMARY OF THE ALLEGATIONS

          10.    This is a consumer protection case involving the sale of a new vehicle. The

  problem is that the vehicle has been out of service because of repair of one or more defects for

  thirty(30)or more cumulative business days, which violates Hawaii's Lemon Law and leaves

  Plaintiff without the vehicle she purchased brand new.

          11.    Plaintiff took very good care ofthe vehicle since she bought it on or about April

  2,2018. She has maintained its maintenance and loan payments. Sadly, throughout the course




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  of her ownership the vehicle has oftentimes been and is now today inoperable and unsafe to

  drive.

           12.   Plaintiff brought the vehicle to CUTTER for them to inspect and fix the problem.

  Despite Plaintiff's attempts to have Defendants fix the vehicle, it still is inoperable and unsafe.

           13.   Plaintiff is afraid to drive the vehicle, especially since it places her and her family

  in danger.

           14.   Plaintiff asserted her rights for a refund or a replacement automobile directly with

  the Defendants, but has thus far been denied her claims.

                                                 FACTS

           15.   During all relevant times herein, Plaintiff was a consumer of her personal vehicle

  which she purchased from CUTTER.

           16.   Defendant FCA US is the manufacturer ofthe vehicle. All of the defendants are

  responsible for all warranties as well as the proper and timely repair ofthe vehicle under the

  warranties and Hawai`i law.

           17.   On or about April 2, 2018,Plaintiff purchased a new 2018 Dodge Challenger

  from Defendant CUTTER for a total of$40,448.76, which includes purchase price of $35,698.76

  Automotive Theft Protection of $220.00, Supreme Care (Synthetic) package of$586.00, Gap

  Insurance of$895.00, General Excise Tax of$1,039.33, Government License fee of$377.43,

  Dealer Documentary Fee of$295.00, minus a manufacturer rebate of 2,750.00, a Total Cash

  Down Payment of$1,950.00, and a Net Trade Equity of $50.00. A true copy ofthe Vehicle Sales

  Agreement for that transaction, given to Plaintiff by CUTTER,is attached hereto as Exhibit A.

  A true copy ofthe Lemon Law disclosure given to Plaintiff by CUTTER in connection with that

  transaction is attached hereto as Exhibit B.




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         18.     The mileage on the vehicle at the time of purchase on April 2, 2018 was 84 miles.

         19.     Within the next4 to 5 months, Plaintiff drove the vehicle less than 7,138 miles.

         20.     Plaintiff's problems with the vehicle started early in her ownership and have

  continued to occur often, leaving her without her brand-new vehicle many months since she

  purchased it. Plaintiff began experiencing "knocking" and "clanking" when attempting to put her

  vehicle into gear. Anytime Plaintiff attempted to reverse or drive her vehicle it would "clank"

  into gear. The vehicle also knocks while being driven.

         21.     On or about August 17, 2018,Plaintiff took her vehicle to CUTTER for a Recall

  and to get a service and repair for the knocking and clanking she experienced when trying to put

  her vehicle into gear. CUTTER allegedly repaired the recall issue, but initially told Plaintiffthat

  the knock wasn't a problem and that she could simply put on the brake when shifting into/out of

  gear to cure it. Plaintifffinds this to be untrue.(Exhibit C). Plaintiff requested to drive other

  2018 models like hers to see ifthey also had the same knocking and clanking issues. Upon

  Plaintiff's request to drive other vehicles CUTTER declined her request and instead explained

  the transmission was bad in the vehicle and they would then order a replacement transmission

  from Michigan, and it should take about a month to receive it.

         22.     Plaintiff returned to CUTTER on or about August 22,2018, when CUTTER's

  Service Manager explained that her vehicle was unsafe to drive and needed a whole new

  transmission. Plaintiff asserts that Jesse Morgan, CUTTER'S Service Manager, confirmed that

  the vehicle needed a new transmission after test-driving her vehicle. Plaintiff further asserts that

  Cutter's Service Manager again explained that the transmission would need to be shipped in

  from Michigan. Plaintiff was informed by CUl lER that she had been sold a"Lemon" and he

  was surprised Defendants had not offered her a new,replacement vehicle.




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         23.     On or about September 14, 2018,Plaintiff returned to CUTTER and received an

  invoice showing the rear axle had been replaced despite Plaintiff never having been told by

  CUTTER that there was a problem with the rear axle.(Exhibit C). Per CUTTER's report: the

  parts and services rendered included R&I exhaust system, bolt kit, WPD,Lubricate-Gear,

  Different-Rear Axle, bolt-hex flange head, and Lubricate-Gear according to CUTTER'S invoice

  opened on or about August 17,2018.(See Exhibit C). According to CUTTER's report, a Safety

  Recall, identified as "Safety Recall U60 — Reprogram Powertrain Control Module" was also

  performed at this time.(Exhibit C). According to CUTTER's report, the transmission was not

  repaired or replaced in Plaintiff's vehicle at this time.(Exhibit C).

         24.     On or about September 14, 2018,Plaintiff also noticed and addressed various

  scratches and damage to the vehicle that was incurred while her vehicle was in the parking lot of

  CUTTER's Service Department. Plaintiff again left the vehicle with CUTTER to repair the new

  scratches and damage.

         25.     On or about October 3,2018, Plaintiff again returned to CUTTER to find the

  vehicle was still not repaired. Upon CUTTER driving the car around for pickup Plaintiff again

  noticed the scratches and damage incurred while on CUTTER's service lot and again notified

  CUTTER of their need to repair the damage. CUTTER opened another service invoice.(See

  Exhibit D). The vehicle remained in CUTTER's service department during the time the

  additional service invoice was opened. The Service Advisor is identified as Shanna Herrman.

         26.     On or about October 5, 2018, CUTTER phoned Plaintiff and left a voicemail

  explaining they had a body shop guy available and will be sending it to him for repairs that day

  and it should be ready in about a week.




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         27.     On or about October 22,2018, CUTTER opened another service invoice.(See

  Exhibit E). The vehicle was still in CUTTER's service department during the time the additional

  service invoice was opened and Plaintiff had been without her vehicle since August 17, 2018.

  The Service Advisor is identified as Shanna Herrmann. The Invoice explains,"Customer states

  lot damage occur[r]ed on RO 34157, sublet vehicle to body shop but damages still present.

  Please inspect damages and sublet to bodyshop for repairs."(Exhibit E).

         28.     Plaintiff then returned to CU i 1 E,R on October 29,2018. It was cloudy and thus

  she did not notice the scratches as much and drove the vehicle home. CUTTER directed her to

  call back ifshe still noticed the scratches when it was sunny. When she drove the vehicle away

  she noticed it was still experiencing the same knocking and clanking issues while driving.

         29.     On or about January 4, 2019, after Plaintiff made multiple attempts to address the

  problems her vehicle was experiencing with Defendants, and after Defendants refused to provide

  Plaintiff with a replacement vehicle, Plaintiff again took her vehicle to CUTTER's service

  department, where it currently remains. During this attempt to get her vehicle repaired or

  replaced, CUTTER acknowledged that there was a problem with the car and communicated this

  to Defendant FCA US. Plaintiff asserts that when she brought her vehicle into CUTTER,the

  vehicle did the knocking while she did a test drive with CUTTER's Service Manager, Jesse

  Morgan. Plaintiff's husband was present during the test drive and spoke with CUTTER's

  General Manager and Service Manager immediately after the test drive. The Service Manager

  acknowledged the knocking occurring during the test drive and the General Manager agreed it

  must still be fixed.

         30.     Plaintiff's vehicle has been in CUTTER's service department for a period

  exceeding 30 days and Plaintiff has made multiple attempts to resolve the problem with both




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  CUTTER and Defendant FCA US. Defendants have been inconsistent with their diagnosis of the

  vehicle and refused Plaintiffs request for a replacement vehicle despite the vehicle remaining

  unsafe and inoperable. Plaintiffs vehicle continues to have a list of problems including the

  knocking and clanking when putting the vehicle into gear, electrical issues(Plaintiffs radio

  plays without anyone around; it powers on by itself), and Plaintiff's vehicle now has lot of

  damage from sitting outside CUTTER's Service Department.

         31.     There are now five tags/hits on the vehicle's Carfax report,so the value ofthe

  vehicle has been substantially impaired.

                              fs Attempts to Resolve Matter with Defendant FCA US
                      Plaintif'

         32.     Plaintiff exchanged communications with FCA US's representatives in an attempt

  to resolve the problems with her vehicle.

         33.     Plaintiff asserts that Defendant FCA US's Representative,"Ford", the "Assigned

  Consultation Manager," explained on November 1, 2018 that it was hisjob to decide if a

  replacement vehicle or compensation was needed. Plaintifffurther asserts that FCA US's

  Representative explained that he spoke with CUTTER who confirmed the damage to her vehicle

  and FCA US's Representative explained that they would need to make it right since the damage

  occurred at the dealership. Plaintiff also informed FCA US's Representative that the original

  transmission issue was still ongoing and that CUTTER's invoices stated that another part of her

  vehicle was repaired instead. FCA US's Representative explained that he would give Plaintiff a

  call back, but failed to do so.

         34.     Plaintiff attempted to follow up with FCA US on November 2, 2018, November

  9,2018,November 21, 2018,and November 30,2018 to get a resolution to the issues with her

  vehicle.




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          35.     During a conference call with FCA US and Cutter on or about January 4, 2019,

  FCA US's Representative,"Ford", asserted that the problems with Plaintiff's vehicle didn't merit

  them replacing the car or doing a buy back at this time.

          36.     FCA US's Representative required Plaintiff to take the vehicle back to

  CUTTER's Service Center yet again for rediagnosing ofthe vehicle, which Plaintiff did on or

  about January 4,2019.

          37.     Despite the ongoing issues and Plaintiff being unable to use the vehicle, she

  continues to pay for the vehicle monthly.

          38.     All Defendants have refused to comply with Plaintiff's requests to repair the

  vehicle to its original state, and claimed many times that there was nothing wrong with the

  vehicle and the noise was normal, when in fact the vehicle suffers from major nonconformities

  that make it unsafe and significantly less valuable.

                           FIRST CLAIM FOR RELIEF(Breach ofContract)

          39.     Plaintiff incorporates herein the allegations set forth in paragraphs 1 through 38

  above as if fully set forth herein.

         40.      Defendants have breached their contract with Plaintiff as described above.

                                  SECOND CLAIM FOR RELIEF(HRS 480)

         41.      Plaintiff incorporates the allegations as set forth in paragraphs 1 through 40 above

  as if fully set forth herein.

         42.      Plaintiff was at all times relevant herein a consumer and the vehicle purchased by

  Plaintiff from CUTTER was for Plaintiff's personal use.

         43.      Defendants' actions as described above constitute unfair and deceptive acts and

  practices in violation in violation of HRS § 480.




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         44.       Defendants' actions and misrepresentative, failure to honor their promises as well

  as the improper charges and disclosure in connection with the above-described sale and refusal to

  honor Plaintiff's claims were immoral, unethical, oppressive, unscrupulous, and substantially

  injurious to Plaintiff as a consumer, and were unfair and deceptive, in violation of HRS §§ 476,

  480, and 4811.

         45.       Plaintiff has suffered injury to her property in an amount to be proved at trial, but

  not less than three times $40,448.76 or $121,346.28, by reason of Defendants' violations.

                              THIRD CLAIM FOR RELIEF(Injunctive Relief)

         46.       Plaintiff incorporates herein the allegations set forth in paragraphs 1 through 45 as

  iffully set forth herein.

         47.       Pursuant to HRS §480-13(b)(2), Plaintiff requests injunctive reliefto enjoin the

  unlawful practices described above.

                               FOURTH CLAIM FOR RELIEF(Rescission)

         48.       Plaintiff incorporates herein the allegations set forth in paragraphs 1 through 47 as

  iffully set forth herein.

         49.       Pursuant to HRS §480-12, Plaintiff's Credit Sale Contract for the above described

  vehicle is void, and is not enforceable.

         50.       As a result, Plaintiff is entitled to the return of her purchase price of$40,448.76.

                          FIFTH CLAIM FOR RELIEF(Breach of Warranties)

         51.       Plaintiff incorporates herein the allegations set forth in paragraphs 1 through 50 as

  iffully set forth herein.

         52.       Each Defendant is a merchant with respect to motor vehicles.




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         53.      The aforementioned motor vehicle purchased by Plaintiff was subject to implied

  warranties of merchantability.

         54.      Defendant CUTTER,to induce said sale, also made certain express warranties

  and representations to Plaintiff, both orally and in writing, and through their advertising and

  conduct.

         55.      Said express and implied warranties and representations included, but were not

  limited to, the following:

               a. Said vehicle was of good,sound and merchantable quality;

               b. Said vehicle was fit for the ordinary purposes of safe and reliable transportation;

               c. Said vehicle was free from defective parts and workmanship;

               d. Said vehicle was so engineered and designed as to function without requiring

                  unreasonable maintenance and repairs;

               e. In the event said vehicle was not free from defective parts or workmanship as set

                  forth above, that Defendants would repair or replace same without cost to

                  Plaintiff; and

               f. That any defects or non-conformities would be cured within a reasonable time,

                  and that if a safety defect, that would be properly repaired the first time.

         56.      Said vehicle was not as warranted and represented in that the vehicle had a serious

  safety defect that was not correctly repaired upon Plaintiff's multiple attempts to have Defendant

  CUTTER fix it.

         57.      As a result of these safety defects and ongoing problems, said vehicle cannot

  reasonably be relied upon by Plaintiff for the ordinary purpose of safe and reliable transportation.




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         58.     Plaintiff has given Defendants reasonable opportunity to cure said defects and

  make the subject vehicle fit for its intended purpose, but Defendants have been unable to do so

  within the proper time frame and number of repairs.

         59.     As a direct and proximate result of Defendants' various breaches of warranty,

  Plaintiff has suffered damages including but not limited to: the cost of his vehicle, the

  inconvenience of obtaining alternative transportation, anxiety, embarrassment, anger,fear,

  frustration, disappointment, worry, aggravation, and she will continue to suffer future damages

  together with costs and fees to obtain relieffrom Defendants' wrongful conduct.

                      SIXTH CLAIM FOR RELIEF(Revocation of Acceptance)

         60.     Plaintiff incorporates herein the allegations set forth in paragraphs 1 through 59 as

  iffully set forth herein.

         61.     Plaintiff reasonably assumed and Defendants represented that all ofthe aforesaid

  defects and nonconformities was cured at each repair visit.

         62.     The nonconformities render the vehicle worthless to Plaintiff.

         63.     Plaintiff has notified Defendants of said nonconformities and of Plaintiff's intent

  to revoke acceptance, and demanded return ofthe purchase price of said vehicle or a new

  vehicle.

         64.     Defendants have nevertheless refused to accept return ofthe vehicle and have

  refused to refund Plaintiff's purchase price or to provide her with a new vehicle.

               SEVENTH CLAIM FOR RELIEF(Breach of Obligation of Good Faith)

         65.     Plaintiff incorporates herein the allegations set forth in paragraphs 1 through 64 as

  iffully set forth herein.




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         66.      Defendants had the duty to act in good faith with respect to the transactions as set

  forth herein.

         67.      The actions of Defendants as described constitute a breach ofthe good faith

  requirement and as a proximate result Plaintiff has sustained the damages set forth herein.

                  EIGHTH CLAIM FOR RELIEF(Magnuson-Moss Warranty Act)

         68.      Plaintiff incorporates herein the allegations set forth in paragraphs 1 through 67 as

  iffully set forth herein.

         69.      This Court has jurisdiction to decide claims brought under 15 USC §2301, et seq.,

  by virtue of 15 USC §2301(d) — (a).

         70.      Plaintiff is a consumer as defined in 15 USC §2301(3).

         71.      Defendants are suppliers and warrantors as defined in 15 USC §§ 2301(4)and (5).

         72.      The afore described motor vehicle is a consumer product as defined in 15 USC

  §2301(6).

         73.      15 USC §2301(a)(1) requires Defendants, warrantors, to remedy any defect,

  malfunction or nonconformance of the subject vehicle within a reasonable time as defined in 15

  USC §2304(d).

         74.      Despite the fact that Plaintiff complied with all reasonable terms and conditions

  imposed upon her by Defendants, Defendants did not properly and timely remedy the safety

  defects.

         75.      As a result of Defendants' breaches of express and implied warranties as set forth

  in this Complaint, and their failure to remedy same competently and timely, Plaintiff has suffered

  the damages enumerated above.

                          NINTH CLAIM FOR RELIEF(Misrepresentation)




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         76.     Plaintiff incorporates herein the allegations set forth in paragraphs 1 through 75 as

  iffully set forth herein.

         77.     At all times relevant herein, Defendants had a duty to disclose that the vehicle

  was unsafe and had a further duty to perform repairs or cause repairs to be performed in a

  careful, workmanlike manner within a reasonable time, and had a further duty to disclose to

  Plaintiff any defects or nonconformities which could not be cured within a reasonable time.

         78.     At all times relevant herein, Defendants breached the.aforesaid duty of disclosure

  by representing that the vehicle has been properly repaired and was safe and operable, when they

  knew,or in the exercise of reasonable care, should have known that to be untrue. Defendant

  CUTTER on numerous occasions asserted that the knocking and clanking when Plaintiff

  attempted to put the vehicle into gear, which was a sign of nonconformity, was normal, which is

  known to be untrue.

         79.     Defendants further breached the aforesaid duty to disclose by representing, either

  affirmatively or by omission, that the subject vehicle had been properly repaired, when in fact,

  the vehicle had not been adequately or properly repaired.

         80.     Defendants made the aforesaid representations, knowing the same to be false or

  with reckless disregard as to whether they were true or false, but with the intent that Plaintiff rely

  on Defendants'judgments.

         81.     Plaintiffjustifiably and reasonably relied on Defendants' representations to her

  detriment, as alleged above.

         82.     Defendants benefitted from Plaintiff's reliance.

         83.     As a direct and proximate result of Defendants' aforedescribed

  misrepresentations, Plaintiff has suffered the damages set forth above.




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                               TENTH CLAIM FOR RELIEF(Lemon Law)

         84.      Plaintiff incorporates herein the allegations set forth in paragraphs 1 through 83 as

  iffully set forth herein.

         85.      Plaintiff is a consumer for purposes ofthe Lemon Law as set forth in HRS §481I-

  2.

         86.      Plaintiff purchased his vehicle when it was brand new.

         87.      Plaintiff was without his vehicle due to nonconformities for well over thirty days

  in the first two years of ownership.

         88.      Plaintiff's vehicle did not conform to all applicable express warranties and the

  nonconformities have been subject to examination or repair numerous times by Defendants, but

  the nonconformities continue, which is likely to cause death or serious bodily injury if the

  vehicle is driven.

         89.      Plaintiff has made demand for the return of her purchase price or a replacement

  motor vehicle, but Defendants have refused.

         90.      Defendants have violated other sections ofthe Lemon Law statute as well.

         91.      As a result of Defendants' violations ofthe Hawai`i Lemon Law,Plaintiff is

  entitled to the return of her purchase price or a replacement vehicle.



  WHEREFORE,Plaintiff prays for the relief as follows:

         AS TO THE FIRST CLAIM FOR RELIEF(Breach ofContract)
                                                           :

               A. Thatjudgment be awarded to Plaintiff in the amount of$40,448.76 together with

                  additional damages to be determined.

         AS TO THE SECOND CLAIM FOR RELIEF(HRS §480)
                                                   :




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           B. That Plaintiff be awarded treble damages of not less than $121,346.28.

        AS TO THE THIRD CLAIM FOR RELIEF(Injunctive Relief)
                                                          :

           C. That Defendants be ordered to cancel the sale with Plaintiff and return all

              amounts paid by her, or to give him a substitute vehicle that is acceptable to

              Plaintiff.

           D. That Defendants retain the vehicle and transfer the title from Plaintiff to either or

               both Defendants CUTTER and Chrysler.




        AS TO THE FOURTH CLAIM FOR RELIEF(Rescission)
                                                    :

           E. Thatjudgment be awarded to Plaintiffin the amount of $40,448.76 together with

              additional damages to be determined.

           F. That the Court declare that the sale contract of April 2,2018 is rescinded.

        AS TO THE FIFTH CLAIM FOR RELIEF(Breach of Warranties)
                                                             :

           G. Thatjudgment be awarded to Plaintiffin the amount of $40,448.76 together with

              additional damages to be determined.

        AS TO THE SIXTH CLAIM FOR RELIEF(Revocation of Acceptance)
                                                                 :

           H. Thatjudgment be awarded to Plaintiff in the amount of$40,448.76 together with

              additional damages to be determined.

        AS TO THE SEVENTH CLAIM FOR RELIEF(Breach of Good Faith)
                                                               :

          I. Thatjudgment be awarded to Plaintiff in the amount of$40,448.76 together with

              additional damages to be determined.

        AS TO THE EIGHTH CLAIM FOR RELIEF(Magnuson-Moss Warra
                                                            nty Act)
                                                                   :




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           J. Thatjudgment be awarded to Plaintiff in the amount of$40,448.76 together with

               additional damages to be determined.

        AS TO THE NINTH CLAIM FOR RELIEF(Misrepresentation)
                                                          :

           K. Thatjudgment be awarded to Plaintiffin the amount of$40,448.76 together with

               additional damages to be determined.

           L. That Plaintiff be awarded exemplary damages.

        AS TO THE TENTH CLAIM FOR RELIEF(Lemon Law)
                                                  :

           M. Thatjudgment be awarded to Plaintiff in the amount of$40,448.76 or a

               replacement vehicle acceptable to Plaintiff.



        AS TO ALL CLAIMS FOR RELIEF:

           N. That the Court award Plaintiff her reasonable attorney fees and costs.

           0. That the Court award Plaintiff such other relief as the Court may deem just and

               proper.



  DATED: Honolulu, Hawai`i, February 19, 2019.




                                                   IN A.BRA          TT,E Q.
                                               ttorney for Plaintiff, Mignonette Olivas




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Case 1:19-cv-00454-DKW-RT Document 11-4 Filed 10/31/19 Page 19 of 33                                                                                                                                             PageID #:
                    IIPIRMWOWT 695    11111.11WMN,
                                                                            CUTTER CHRYSLER DODGE JEEP                                                                                  DIAL 110
                                                                                                                                                                                               ,
                                                                            RAM OF PEARL CITY
                                                                          905 KAMEHAMEHA HIGHWAY
                                                                          PEARL CITY, HAWAII 96782
                                                                                                                                                                                       STOCX NO'
                                                                          Phone:(808)564-9640 Fax:(808) 564-9660


                                                     VEHICLE SALES AGREEMENT
                                                                                                                             -      --- --             W.                            VS--V T,
                                                                                                                                                                                            1            MIS
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           -ItaRir l          01. t IA S
        CO-BUYER                                                     ADDRESS •                  •                                                      -                                :. ,..•
        EMPLOYER:                                                  • OCCUPATION
                                                                                                       -'•                                                                             Maar
                          VEHICLE BEING PURCHASED:                                                                            CASH PRICE OF VEHICLE:
           -DRS AGREEMERT COVERS MY PURCHASE FROM YOU OFTHEMOTOR VEHICLE                                       10. BASE PRICE OF VEHICLE             ; ', . I '.,I-•.''..)''
         '--_'DESCRIBED BELOW.IN THIS AGREEMENT,THE WORDS L ME AND MY MEAN THE                                 11. DEALER INSTALLED ACCESSORIES:
                           BUYER.YOU AND YOUR REFER TO THE SELLER.
        PLEASE ENTER MY ORDER FOR ONE: 0-NEW ' 0 USED
        Y_LAI        MANE.                MODEL:

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        mi                                                            mcaL
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           2(.3('DiAr..! Ii-Q1 0--,,It?                                 N/A
        GOLOR EXT-                     KEY D000-                      MILEAGE:
                                                                                                          12. ACCESSORIES TO -BE INSTALLED:
           4:-,(ikst                    NiA           ,                 Sf-                               . -. Avtomotive I n. i.- i. I'm L.:>•:,-;.:i                                             $22i.1.Cit
                                                                                                           =.71-GAecArOtrct.ion.                    --                                            589'.:=.00
                                                                                                                                                                                                :
                                                                                                       OR .:                                      titz..-,r,
        ❑ MANUFACTURER'S WARRANTY EXPIRES ON                                                                  ..t,i313..    ---_ ... _'Si:(n thet
                                                                                                                     • (L7RAF:,01711          _                                                 .15-;::0.00
                      - ) WHICHEVER COMES FIRST.                                                                                                                                                 ' -' .90a

        ❑ ALL WARRANTIES HAVE EXPIRED AND VEHICLE IS SOLD AS IS . ,.                                                                                                                                   C. All
          AND AS SHOWN:                                     - .. ;IliA - .                                                                                                                             11,2r.

                     USED CAR BUYER'S GUIDE        (INITIAL)                                                        !.,'a                                                                                Q ,
                                                                                                                                                                                                           tin
           I UNDERSTAND MATTI-1E INFORMATION I SEE ON THE WINDOW                                                    r,...4                                                                               0,00
               FORM FOR THIS VEHICLE IS PART OF THIS.AGREEMENT                                                       .
               INFORMATION ON THE WINDOW FORM OVERRIDES ANY
                    CONTRARY PROVISION IN THIS AGREEMENT     .

        ABOUT MY VEHICLE BEING TRADED IN, IF ANY:                        (NONE ramat )                       '-, 1• .cirli.i,14.',              -
        YEAR          MANE:           ... MODEL:                            kW Phr.P.                                                                                                     .
            '4: i ..,    4I S'ZAN            kOGi..q:'                        4.,1 /6..:,                      14. OTHER
        TRADE UK*:    VIN:                             •                         LID NO
           Pi 55?0        ilqi:'.A.!-:,`A I p,i41.5 ;ay                           ,;p:-4,,K,
        BALANCE OVISDIO(COMFANY/COMACTI
                                                                                                                                 •                                                                   •          ,

        PALAI"'kDE V' T;         DIATEZCXXRU,                 coNTAcT PHONE •                15. SERVICE CONTRACT                               $2..-14fJ,...71'j
             • r OS-c.. .df.l.
          _          .         _   ,.       ,          .                 •        • , .18. HANDLING & DESTINATION CHARGES                                       N,''
                                                                                                                                  _.
        1. TRADE-IN ALLOWANCE:                                    1i-, Q                 --- 17.-DOCUMENTATION FEE:                                           ';:t7/-''
        2. LESS BALANCE OWED ON TRADE-IN(S): ,                    le, ,...):?!..,..Q0        18. SUB TOTAL                  (13.14.15+18+17)   ? 7,'-i .J ..... 'JD
        3. NET TRADE EQUITY /40E.F1CIT>            (1.2)                 :fa F.-'3 .al.F,    19. HAWAII GENERAL EXCISETAX 4- ?T_I                SI ..r.:Y.
                                  om mu     ,-•-. RECEIPT ha.    :
                                                                 .,,
                                                                   i T ,l',:i5o...ac
        4. INITIAL DEPOSIT:      .                                                    :f     20.. U.S. LUXURY TAX                                              :,
                                                                                                                                                                '    s,
        5. ADDITIONAL DEPOSIT: D P.4.°'           REFE'Proo-                      N/ A       21. LICENSE;LICENSE TRANSFER,SAFETY CHECK,
        8. TOTAL,CASH DOWN PAYMENT;       14+5)                   $1 „95,-2     .„nu.             TITLE„REGISTRATION FEE                                '..`,? ...:",'
        7. CUSTOMER REBATE'                                   ' -$2.,i'.7...(;    .)C. .
                                                                                       i     22.  TOTAL PRICE -                (16+19420+21) . f.4/41,41.i. $:..•
        8. OTHER.(DESCRIBE)                                                                  23. LESS:TOTAL CREDIT       .           (LINE9)     SA . .,. '.. :.:.01.,
        9. TOTAL CREDIT                    (3444)                 6.1.,. 7c.fi ;161,7,. 24. IINPAID.CASH BALANCE           '          (2243)   *3.5 t.r...1.„2, , 76

           FOR MY PROTECTION. YOU'REQUEST THAT MY CHECKS MUST BE MADE PAYABLE TO CUTTER CHRYSLER DODGE JEEP RAM OFPEARL CITY.
         YOU WILL NOTBE UA8LE FOR.ANY OF MY CHECKS NOT.MADE PAYABLE TO CUTTER CHRYSLER DODGE JEEP RAM OF PEARL CITY.. IF MYPAYMENT
             IS MADE IN cask, IWILL BE SURE TO ASK FOR AND RECEIVE A CUTTER CHRYSLER DODGE JEEP RAM OF PEARL CITY OFFICIAL RECEIPT.
                                                                                                                                   `', I:,   ,
        1. I UNDE:RSTAND THATIHE REVERSE SIDEIS PART OFTHIS AGREEMENT I HAVE READ BOTH SIDES BEFORE_I SIGNED.
        2. I ACKNOWLEDGE THAT.BEFORE LSIGNED;ALLBLANK SPACES WERE FILLED IN AND I RECEIVED A COMPLETELY FILLED IN COPY Or THIS. AGREEMENT.
                                                                                                                                        .. .
        3,---i UNDERSTAND•THAT.TNI&ORDENIS NOT.BINDING UNLESS IT IS SIGNED BY YOUR AUTHORIZED REPRESENTATIVE.            .
        4. I UNDERSTAND THAT UNLESS I HAVE PAID YOU IN FULL OR I HAVE TAKEN POSSESSION OF THE VEHICLE OR I AM PURCHASING A VEHICLE THAT
             IS NOT IN INVENTORY,THIS AGREEMENT WILLAUTOMATICALLY TERMINATE ON          ' ' (THIRTY(30)DAYS FOLLOWING DATE OF VEHICLE SALES AGREEMENT)
        AGREED-AND ACCEPTED:.'                                                                LIENHOLD ER

         BUYER*    f   ;•
                        -
                              '
                                   • ,                     -                         .'3-l- '.02123- a                               !.,....;              .• •..4 •          r ._
                                                                                     DATE                                            r- '_,i t..,;),         ,3
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         CO-BUYER'
                                                                                     DATE                                 Internal Use Only:
          APPROVED ARO ACCEPTED: CUTTER CHRYSLER DODGE JEEP RANI OF PEARL CITY BalSF pid .
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         BY:                      '1                                                                                                                                        ,              .
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        [I](check If applicable - used vehicles only)                                    "AS IS"
         THIS VEHICLE SOLD "AS IS".YOU WILL HAVE TO PAY FOR ANY REPAIRS NEEDED AFTER
         SALE. IF WE HAVE MADE ANY PROMISES TO YOU,THE LAW SAYS WE MUST KEEP OUR
         PROMISES, EVEN IF WE SELL "AS IS".TO PROTECT YOURSELF, ASK US TO PUT ALL
         PROMISES IN WRITING.                                            :
                                                                         -1::              Tilz
Case 1:19-cv-00454-DKW-RT Document 11-4 Filed 10/31/19 Page 20 of 33                                                                                                                     PageID #:
                                    696
                                                                                        AtEMATVADDITIONAL.TERMS
                                                                            .::AND CONDITIONS TO MY SALES AGREEM


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            Agrearnept4fmy credit iSnot'approved and I already have posseSSionig the vehrle, I agree.hitetuleitiOyfj.-withrTi,24-.-fietits: alter yoti notify me that my
            credit has not been apprOVed,fpromisei0,pay you the cost efrepairiOge0;dainage to the .yeftigt:i:WItint                   i.i.iiiirkin m- y'posiessign, except feretift149.
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             I promise to pay you einy court costs -arid reesnitahte allow ys teas thaf-YO4ay-it you -take legal action against Ole to enforce met4tirtsitO1-$11‘41-0e4.,-
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            The price Of:1110 vehicle shown:on:the trent:ofilifs..Agreenimit doos no inOde airy salesor use texcis unless those taxes ore stated in thin Agreement. IL.:
            lherq-adtady-.Rtheritaxdkdog:0*dva,,P.ktirddFsdnii I promise IcT.p*iheM.-- • :-
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             tagraii-lhaLl nannet transfer my rigtgu or                          under                      someone                  vetboot yOU, written consent.
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             that accessory. -                                                                                                                        ,   .                         ai


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            Incoirto,or any otherlOSSes:due. to delay or tailurehydetiver the.veniele;.rnimancellation otihtk AgreaMentr.pr any other reason
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    -. •    accompany deliveryofthe V4hicte:You as the seller mako:Np EXPFIESSf:ORITAPtgaVORAI4IE& ineltidreaNaINARRANTIES DE:MERCHANTABILITY
            OR FITNESS FOR A PARTICULAR.          -PURPOSE-                         _ ....„ . bui• ttusvrifilete lobe used solely tor pertonat family or householdpurgeses-:
   - •,          -(2) you make-a wri!terk.warttnty190kpapii.0111priritp.:p. -servicc donfidawitti.ine-Ut the tirrio:dfdte:sate'of the vehicle:1 understand that, ou-may limit
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            to ruse      the vehicle is covered tvitiO,'MantstriiWketraiity.oi unlessyouand agree otherwise in writing, I agree that I have checked the daStaption
            of any used vehicle myself arid I ern satisfied Hierd6periethils:CQueCt, _

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      - - Include                     ponalties     to _state, city. or local government. Destination el laiges represent costiand expenses incurred to bring iho Vehicle
          to the deatershM "and:-Ma*11)1i40.1[610itly itOr.sale.                      _      - -    -
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                                                                                                 NOTICE TO BUYER '
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         NOTICE IS HEREBY GIVEN THATHAWAII LAWGITATES THAT NO PERSON.SHALL'OPERATE.A,MOTQRNEHICLE UPON ANY PUBLIC STREET, ROAD
     - . OR HIGHWAY IN THIS STATE AT ANY TIME UNLESS SUCH MOTOR VEHICLE IS INSURED.V•AtIITIMEMONDERWNO
                                                                                    ....,. ,..     ._  FAULT
                                                                                                         . INSURANCE POLICY.
                                                        ..                                                        ,              .    .. ,. ..                .           ,   - .
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Case 1:19-cv-00454-DKW-RT Document 11-4 Filed 10/31/19 Page 21 of 33                                                             PageID #:
                                    697
                                         ETCH                                                                                CUSTOMER
   PIPAIPMBFR V                           NO.                                                                             REGISTRATION NO




                                              Limited Three Year Warranty                       Month             Day            Year
      •
                                                                                                  04                02           20
             DEALER'S                                                                                        Dealer Code
                  NAME COTTER. Cr.ID INC. •
             DEALER'S                     • '-
              ADDRESS 905 KAMERAllEHA'HWY                                                                               9673-2
           CUSTOMER'S    .    Last Name
                . NAME OLIVAS.:
           CUSTOMER'S      '                                                                              State            Zip Code
              ADDRESS                                                 W AHI AW A                        i4.1            96786
           CUSTOMER'S ,        rea o            a     one-                                                N ht Phone
                 PHONE
               VEHICLE        Make'            Year .                                   Serial Number                      Mileage
          INFORMATION                                                 CHALLENGPR 2C3COZAa0J1-1217289 84
           CUSTOMER'S                                                                 RP ODUCT ;
                 EMAIL                                                                            220 MO

      The Dealer who providesYou with this Customer Registration Form ("Registration") will complete this form. The Dealer
      will then return the original of this Registration to Cal-Tex Protective Coatings, Incorporated ("CalTex"), at the address
      shOwn below. CalTex reserves the right to reject this Registration if the proper fees are not submitted to CalTex by the
      Dealer within sixty(60)days of the'date ofthe application of the product to Yotir Vehicle. Please'aall CalTex at the toll-free
      number listed below if You have any questions regarding the registration of Your Limited Warranty. THE PURCHASE
      OF THIS PRODUCT IS NOT REQUIRED AS A CONDITION TO OBTAIN FINANCING ON YOUR VEHICLE,




                          BASIC THREE YEAR LIMITED WARRANTY
                                 WINDOW ETCH PRODUCT
                                  ($2,500.00 lump sum)




      I have read this Registration and the Limited Warranty and 'I understand and agree to all the terms and
      conditions.

                                                                                                                  04/02/2018
                /                    I

      cusfoNtER's SIGNATURE.                                                                              DA*Ai‘ra-u 16

                    .

          AUTHORIZED DEALER SIGNATURE                                                                     DATE
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     CAL-TEX PROTECTIVE COATINGS,INC.•7455 NATURAL BRIDGE CAVERNS RD•SCHERTZ,TX 78154-3210•(800)707-9292•www.cIpc,com
                                      WHITE - CALTEX•YELLOW'- DEALER•PINK - CUSTOMER
                                            ©1994 - 2017 CAL-TEX PROTECTIVE•COATINGS,INC'-'
170501 AHIC
      Case 1:19-cv-00454-DKW-RT Document 11-4 Filed 10/31/19 Page 22 of 33                                                                                 PageID #:
                                          698                     11111
                                              AUTOMOTIVE THEFT PROTECTION    r
                                                                                                      LIMITED WARRANTY
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I "SCOPEGF
         :THIS LIMITED WARRANTY;
        Cal-Tax Protective Coatings, Incorperated ("CalTex'`)warrantsthat when the Automotive Theft-Pretectrenw product("ATP"-'")is propertyind prdifeSsionally
        applied topr Metalled on Your Vehicle, should ATP'fail to deteethe theft of-Your Vehicle, anclif allThe provisions of            Limited Warranty("Warrent}r)are
        satisfied, CalTex wille • •                  •'           '•-•
        A) Pay to Yotia Rental Car Reimbursentent up to $250: and                          •                                                     . .
        B) Pay on-Your behalfTwo Thousand Five Hundred dollere ($2,500)toward Your purchase or lease of a Replacement Vehicle,
        EXCEPTIONS TO THIS WARRANTY;THIS WARRANTYDOES NOT APPLY TO THEFT                                    UNDER     THE  FOLLOWING      CONDITIONS:
        A) Losses caused by civil disturbaoce, riots. war,acts o(1,var, acts of God;government seizure deStruction,or a loss not otherwise attributable to theft.
        B) If Your Vehicle is recovered within thirty(30)days of the date of theft, and is not ruled a constructive total loss (i.e.:. totaled") by Your
        C) When Your insurer providing,compreheneive insurance for Your Vehiclehas not yet paid, or refuses to pay; any monteefer the theft of YOur Vehicle.
        0) If You havandt submitted to CalTeX prior to forty-five(45) days from the dale of theft, the information referred to in Section V, Claims Procedure,
        E) Illegal acts,: misrepresentatiorrandfpr fraud by You.Whether acting alone or in collueion with ethers. ..
        F) IfYour Vehicle was left unlocked Or:ifthe keys werefeft in Your Vehielee.
        G) Theft occurs outside the United States7•of America and Canada.                                              ,       •                     ,
        H) Theft by Your family members or any other persons who haVe access to the keys of YOur Vehicle.
III. LIMITATIONS ON CALTEX LIABILITY: CALTEX'S MAXIMUM LIABILITY UNDER THE ATP"PRODUCT IS EXPRESSLY LIMITEDTO THE PAYMENT
        OF THE WARRANTY CLAIM CALCULATED PURSUANT TOTHE TERMS OFTHIS WARRANTY(UP TO)THE DOLLAR AMOUNT INDICATED ON THE
        REGISTRATION,CALTEX SHALL:NOT BE LIA4LEFOR INCIDENTAL,PUNITIVE OR CONSEQUENTIAL DAMAGES,THIS WARRANTYGIVESYOU
        SPECIFIC LEGAL.RIGHTS.-YOU MAYALSO HAVE OTHER RIGHTS THAT-VARY FROM STATE TO STATE.SOME STATES-DO NOT' LLOW THE
        EXCLUSION OR:LIMITATION OF INCIDENTAL OR CONSEQUENTIAL DAMAGES.OR PO NOT ALLOW LIMITATIONS ON HOW                                                          IMPLIEP
        W ARRANTY-LASTS; SOTHE ABOVE LIMITATIONS OR EXCLUSIONS MAY NOT APPLY TO you.
IV. REQUIREMENTS FOR THIS -WARRANTY TOaEediviE EFFECTIVE:
   . A) CafTex's receipt from the Dealenof the Registration and correct Registration fees Viithir1:sixty(60)days of the dale of the application of the product to
             Your Vehicle.
        B) You obtain and maintain comprehensive insurance coverage en Your Vehicle for the "Actual Cash Value" ofyour Vehicle.throughout the Term.
V. CLAIMS PROCEDURE: Within forty-five (45)days of theft, You provide to GaiTexl by:Certified                   . Mall, Return Receipt Requested;
        1) A copy,of Your Registration and Warranty-or Other method of purchase of thd.
             A copy of the police report thatwas;filedwithinteri(10) days of the date of theft; •
        3) A copy of the settlernerit check kohl Your coMprehensive insurance corripanyfer the4b-eft of Your Vehicle;
        4):A.copy of the Vehicle purcheee or leaseagreement,
        5) A copy ofthe Replacemept VehiPle purchase or lease egreement, if any; and
             Atopypf.Yeur rental car egre.em.enLif any.
        Contact CalTex at 1,800-707-9292 or Www:ctprecom with any questions regarding your claim. For a Warranty Claim to be considered,the claim must be
        filed during the Term Indicated on the Registration associated With this Warranty.                        •
VI. PAYMENT ON WARRANTY CLAIM: CalTex payment for an approved warranty claim Shall be made within forty-five (45) days. after YoU have 's
      -•-eeliSfaptorily met the requirements:listed in:Sectioe V. Claims Procedure. Any CalTex OayMent under this Warranty will•eatiefy all obligatiohs owed by
                 to:You.-release CalTex from any liability under this Warranty„and cause this Warranty to expire.
VII. DISPUTERESOLUTION CLAUSE:Any controversyor claim arisingout of or relating to this warranty, or the breach thereof, shall be settled by arbitration
        adm inistered bythe American Arbitration Association in accordance with its arbitratign rules'aad judgmenton the award rendeted bythe arbitrator(e) may
        be entered in any q)iirt, having juriadictien thereof::Theerbitrator(s)shall award tathe'prevailii4partwif any,aeeletermined by the arbitrators, all oftheir
        casts and:fees:I-Costs and fees" mean all reasonable Pre-award expenses of the arbitration;inclUdirig the arbitrators' feea, administrative feee-itraVete - 1
        expenees. out-of-pocket eXpenses such as copying and telephone,court costs, witness fee.q: and attorneys' fees. The award of the arbitrators. shall be
     :.,accompanied bya reasoned opinion. Both CaLTe.)cand You agree that this dispute resolution plause shall be a complete defense in any stet, action;class
        action, class arbitration, or proceeding instituted hi any federal,state or local court with reaaectIci any controversy or disPete arising put of Itis Warranty.
VIII. DEFINITIONS:
        You and Your shall refer to the CalTex et/stonier:Who signs'arid is listed on the Registration,aasociated with this Warranty.
        Vehicle shall refer to the autbmobile, truck, or van listed on the Regi-stration associated Witlellita Warranty; No substiftitioriefor the Vehicle will be ellowed.',
        Replacement Vehicle shall refer,to the vehiCle You purchase or lease under the terms of ttli- Warrinty as arepletetnentfor Your Vehicle=
        Rental Car Reimbursement shall referio rental ear.expense                            directly pay outeif-pockertein eiicees'of ail a`rneeinta paid toyott.Or on Your
        behalf Under Your_cempro.hentive insurance ..     coverage, to a rental carcompanyfollowing the theft of Your Vehitle. Rental Car Reimbersement will not be
        paid to Youlkileet:YeUtWarranbeclainIreaeulte
                        .                                    in a payment by CalTexifer an approved Warranty claim.      .
        Dealer -nail refer to the provider of ATP''listed on the Registration and shall be a nationally franchised selfer of automobiles, trucks and vans.
        TertnAtielI:reter ter:the-period of time that thii.Warranty shall be in effect from the date•of YouesigningtbeRegistration until the earlier of the expiration of
        the TerMeassindidated.on the registration breintil CalTex:has made a warrantyclaim payment under thisVerrenty:
IX: - OTHER PROVISIONS:                                 •
        CANCELLATION OF WARRANTY: This Warranty non-cancellable by you.                                             •                                                      •  -
    • MISREPRESENTATION AND FRAUD;This Warranty the)! be•-Voidif:YPUyievephheeplad:-0-Mierepresentedanymatetial factor circumstance relating to
    'this Warrantypeetite,eobjectfitereof„whetheribefere or after a IcieseThia:ineledes. but is not liinited to,anydishonest,freudulent, or criminal act by Yob or
        anyone acting in any capacity es Your agent,-Whether direct or indirect,: *hien-Causes or.centriPutes to the theft of Your Vehicle.                    .
        TRANSFER OPTION'This Warranty is transferable, during its Term,to a second owner of Your Vehicle opiett to CalTex-epprovaLprOviding the aeCOnd
        owner notifies CalTex of the,request of traheferWithie'thirty(30) days of the date of sale..Conteet Cal-Tex for lees and transfer Protecttires.
        REIMBURSEMENT INSURANCE POLICY:CalTex ebligations uhder this.Warranty are insured under a reimbursement insurance policy.lf a paymentfor
        an approved warrenty-claiMis net provided by CalTex before the l'•" day-after-Yoe have satisfactorily met the requirements listed in Section V.•Claims
        Procedure. You reeyapplyforreimbursement directly theCalTex reirebereernent insurance company: Virginia Surety Compahy,Inc„ 175 Westjeckagne
        Blvd.. Chicaeo:Illinois 60604. 1-800,209-6206.
        COMPUTATION OF TIMEeAll time periods-stated in this Warrenty shall be computed by beginning the count on the day of the specified event
         NOTICE TO CONSUMER; This Warranty is a:: product Warranty 'ancrie not insurance. This:Warranty is regulated by the Hawaii Depertmeet.of-
        Commerce & Consumer affairs, Division of Insurance•("D'CCA.1001-).-Any unresolved questions or complaints regarding the,regulation of C' alTaxInaY be
        addressed to the OCCAIDOtat: Haviall'bepartment-'of Commerce & Censumet Affairs. Divisien of Ineurance, P.O. Bele:3614. Honolulu. HI 96811.
        telephone .1-808,586-2790,                                                   r
                                                                                                                                                   _




        ENTIREAGREEMENT;THIS WARRANTY REPRESENTS THE ENTIRE AGREEMENT BETWEEN OALTEX AND YOU,AND CANNOT BE MODIFIED' R
        ENLARGED -IN ANY WAY                      IN WRITING BY CALTEX. THE ONLY INDIVIDUALS AUTHORIZED TO BIND AND SPEAK FOR CALTEX ARE
        THOSE LOCATED AT THEADDRESS BELOW.THIS WARRANTY                                                                    PROVIDES FOR THE PRODUCT INSTALLED
        OR APPLIED TO YOUR VEHICLE.: THE ATP'''. DEALER IS NOT AUTHORIZED TO EXTEND OR IN ANY MANNER MODIFY THE TERMS AND
        CONDITIONS OF THIS WARRANTY.OR RECEIVE DOCUMENTS,CORRESPONDENCE,OR NOTICES, ON.BEHALF OF CALTEX.

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Case 1:19-cv-00454-DKW-RT Document 11-4 Filed 10/31/19 Page 23 of 33                                                                     PageID #:
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                           NOT10E OF CONSUMER R1GHTS
                            U NDER HAWAWS LEMON LAW
                                            FOR NEW MOTOR VEHICLES


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      Case 1:19-cv-00454-DKW-RT Document 11-4 Filed 10/31/19 Page 24 of 33                                                                      PageID #:
                                          700




CUSTOMER #:                            6598
                                                                                                           Cutter Chrysler Jeep Dodge of Pearl City
                                                                                 INVOICE'                     License No. RD-4118
MIGNONETTE N OLIVAS                                                                                           905 Karnahameha Highway
                                                                                                              Pearl-City, Hawaii 96782-2501
                                                                                                              Ph:(808) 564-9316 Fax:(808) 564-9317
WAHIAWA, HI 967863690                                                               PAGE 1•                   Visit us online at: www.cuttercars,com
HOME:              ONT
BUS:              CELL.                                                         VICE         DVISOR. 9444 SHANNA HERRMANN
 -.    COLOR               YEAR                MAKEMODEL                               MN                 ,       : ''LICENSE -;        MILEAGE.MOUT           TAG


GRAY                         18         DODGE CHALLENGER                 2C3CDZAGOJH217229 .TNS861                                    7222/7224          T7720
      DEL DATE             PROD - WE           %NAM'EXP.    PROMISED                   1 PO NO. .- _--;              RATE .'' PAYMENT          -.'INN. ELATE


02APR18 DE                                     05FEB202. 14::00 28AUG18                140:00 CASH                                            14SEP18
         R.O. OPENED                             READY-    ;OPTIONS: - SOLD-STK:WD18113 ENG:3.6 Liter

07:32 17AUG18 13:48 14SEP1E3
LINE OPCODE TECH TYPE HOURS                               LIST      NET                                                                            TOTAL
A Recall [CSN 1 [U60:' Safety Recall U60 - Reprogram Powertrain ContrOl
        Module**]
CAUSE: RECALL
     18U60183 Safety Recall U60 - Reprogram Powertrain
          Control Module - Reprogram Inspect= PCM
          Software Level and Perform Software Update
          (2018 Model Year Only)
            1202 WPD                                                                                                                               (N/C)
         FC: PART#: COUNT:
         CLAIM TYPE:
         AUTH CODE:



 7222 PERFORMU60-RECALL FLASH PCM ARit-CiCdPER"ATIOW,CK                                                            OK. OLD PN
 68353058AC NEW ONE AD .2HR 18U60182. RECALL COMPLETE

B CUSTOMER STATES RADIO INTERMITTENTLY DOES                                           NOT TURN OFF AFTER VEHICLE
        IS -OFF. PLEASE      AND_-REPORT
CAUSE: OEPRATING AS DESIGN
     85418701 Audio, Video and-TeipMatiCS,,.
          Components,Trouble Not Found - No
          Repair/Trouble Not                                                               SkilledY
             1202 WPD
         FC: PARTf(: COUNT:
         CLAIM TYPE:    W
         AUTH CODE:



7222 CHECK TO VERIFY CONCERN.- _ CHECK RADIO OPERATIONSEVERW-TIMES
AND TURN- IGNITION OFF AND RADIO IS STILL ON UNTIL .DOORIS OPENTHEN IT
WILL SHUT OFF WHICH IS NORMAL. FEATEREFORTHIS-VEHICLEBUT:14ANUALLY
TURN RADIO=OFF AND IT GOES OFF ALL -THE TIME. CHECK FOR:TSB AND STAR,
                                         ._                                             .     ._
 ON BEHALF OF -...                                                         STATEMENT OF DISCLAIMER                      DESCRIPTION                TOTALS
                   SERVICING DEALER, I HEREBY CERTIFY THAT THE
 I NFORMATION CONTAINED HEREON IS ACCURATE UNLESS OTHERWISE                Tho toclory warranty cortstRulos all     LABOR AMOUNT
 SHOWN. SERVICES DESCRIBED WERE PERFORMED AT NO CHARGE TO                   getoser.:Tfamt==trito
 OWNER. THERE WAS NO INDICATION FROM THE APPEARANCE OF THE -                                                 IN,    PARTS AMOUNT
                                                                            sou hazoby expressly disclaims all
 VEHICLE OR OTHERWISE, THAT ANY PART REPAIRED OR REPLACED'                 'warranties ailhof . eXpter.$ 61'        G AS, OIL, LUBE
 UNDER THIS CLAIM HAD BEEN CONNECTED IN ANY WAY WITH ANY                    Itn0cd. Including .";any bnaied
 ACCIDENT. NEGLIGENCE OR MISUSE. RECORDS SUPPORTING THIS                    watraniv ofa..merch               or    SUBLET AMOUNT,':-
 CLAIM ARE AVAILABLE FOR 111 YEAR FROM THE DATE OF PAYMENT                  Tomas fof         RaiScula p.umse.
                                                                                     ,..1,14,,..
 NOTIFICATION AT THE SERVICING DEALER FOR INSPECTION BY                                          -assumes - no, .   'MISC. CHARGES
                                                                            authorizes any othy Dusan to
 MANUFACTURER'S REPRESENTATIVE.                                             assume for It any tratirsty In          TOTAL CHARGES
                                                                            cwthsslis" wi th °Is ssIs of- t
                                                                            ItomAEoRts.                     his     LESS INSURANCE                 .
                                                                                                                    SALES TAX
 ISIGNE01      DEALER, GENERAL MANAGER OR AUTHORIZED PERSON:    IDATEI      CUSTOMER SIGNATURE
                                                                                                                    PLEASE PAY
                                                                                                                    THIS AMOUNT


         CC, 0414, llC   1.1.1Ct NV0111 trrt   -
                                                                 EXHIBIT C
                                                               CUSTOMER COPY SERVICE
     Case 1:19-cv-00454-DKW-RT Document 11-4 Filed 10/31/19 Page 25 of 33                                                                      PageID #:
                                         701



CUSTOMER #:_6598                                                            34151
                                                                                                     Cutter Chrysler Jeep Dodge of Pearl City
                                                                            INVOICE                 'License No. RD-4118
MIGNONETTE'N OLIVAS                                                                                   905 Kamehameha Highway
                                                                                                      Pearl City; Hawaii 96782-2601
                                                                                                      Ph:(808) 564-9316 Fax:(808) 564-9317
WAHIAWA, HI 967863690                                                        PAGE 2                   Visit us online at: www.cuttercars.com
HOME              CONT:
BUS:              CELL                                               SERVICE ADVISOR: 9444 SHANNA HERRMANN
    COLOR         YEAR           MAKE/MODEL                               _ VIN         LICENSE  MILEAGEINt OUT                                               TAG


GRAY              18 :"DODGE CHALLENGER             :2C3CDZAGOJH217289                                       TNS861                      7222/7224       T7720
  DEL DATE'      PROD:..DATEWARR.',1EXEC.i.: PROMISED: • -,                                                   RATE           L:-PAYMENT—t.      INWDATE.

02APR18 DI                      05FEB202: 14:00:28AUG1e               140.00 CASH                                                             14SEP18
    R.O. OPENED.                  READY      OPTIONS: SOLD-STK:1018113 ENG:3.

07:32 17AUG18 13:48-14SEP18
LINE OPCODE •TECH TYPE HOURS                                    LIST     NET                                                                         TOTAL
 CASE NONE. CHECK FOUND RADIO VERSION IS UP TO DATE. UNABLE TO 2DUpLICATE
 STATED CONDITION AT THIS TIME.                                  '
              ********s****'*******-*****,,**************************1,*
C I REMOVED ALL VALUABLES (MONEY, GLASSES, DVD, CD JEWELRY,

        VP I     REMOVED ALL VALUABLES                     (MONEY,     GLASSES,
                 CD JEWELRY,'
                 ETC)
                     1234         CD                                                                                                                  0.00
                       ** * lc**** le‘******************4‘***;;,* **************                                            ***
D** ENTERPRISE RENTAL: :
CAUSE: *RENTAL
     RENTAL RENTAL ;-UNIT

               FC:',.1)ARTtf COUN
               CLAIM, TYPE:     W
               AUTH CODE:



SUBL ENTERPRISE RAC INV#                                        05f PO#,11097.0


E** ADD ON OPERATION-CUSTOMER STATES                                WHEN.
                                          PUTTING VEHICLE INTO PARK OR
        INTO DRIVE, THERE      CLUNK             FRONT           ..rEVE&:
        ON FLAT GROUNDS. PLEASE CHECK AND                                   RE?ORT.
CAUSE: *EXCESSIVE PLAY
     03300115 Axle / Differential, assembly,''Rear
          Replace 195 inny:(
            1337 WPD
                PART#: COUNT:
         CLAIM TYPE`:   W
         AUTH CODE:
                                                                                                ..      .             .,
 ON BEHALF OF SERVICING DEALER, I HEREBY CERTIFY THAT. THE            STATEMENT OF DISCLAIMER               .-. .-         DESCRIPTION           -   TOTALS
 INFORMATION CONTAINED HEREON IS ACCURATE UNLESS OTHERWISE            TholaCtoly warranty constitutes all .' LABOR AMOUNT
 SHOWN. SERVICES DESCRIBED' WERE PERFORMED AT NO CHARGE TO.                   the werrentlas with respect to
 OWNER. THERE VAS NO INDICATION FROM THE APPEARANCE OF THE            sfItogIiieri.h
                                                                                  llteobfy attressi
                                                                                                lIa7110I1121
                                                                                                         5 1;srheei . PARTS AMOUNT
 VEHICLE OR OTHERWISE, THAT ANY PART'REPAIRED OR REPLACED             warranties Alter . comas or ' GAS, OIL, LUBE
 U NDER THIS CLAIM HAD BEEN CONNECTED IN ANY WAY WITH ANY             Implied, including, any implied
 ACCIDENT, NEGLIGENCE OR, MISUSE. RECORDS SUPPORTING THIS             warranty or otorthootebility or                  SUBLET AMOUNT
 CLAIM ARE AVAILABLE FOR (11 YEAR FROM THE DATE OF'PAYMENT            T07,4.5 1,,reitLinartZ         tuam
                                                                                                        r
                                                                                                  assumes              MISC. CHARGES
 NOTIFICATION AT THE. SERVICING DEALER FOR INSPECTION BY              authorLies any other person to
 MANUFACTURER'S REPRESENTATIVE.                                       assume for It any liability In                   TOTAL CHARGES
                                                                      connection will' the snip pi '          11 15 -  LESS INSURANCE
                                                                      itomfitarns.
                                                                                                                       SALES TAX
 (SIGNED)   DEALER, GENERAL MANAGER OR AUTHORIZED PERSON   (DATE)     cysTonAER SIGNATURE                              PLEASE PAY
                                                                                                                       THIS AMOUNT

        — •,
                                                       :-CUSTOMER cpPy SERVICE
     Case 1:19-cv-00454-DKW-RT Document 11-4 Filed 10/31/19 Page 26 of 33                                                                             PageID #:
                                         702




CUSTOMER #:                           8
                                                                                                                     Cutter qlrysier Jeep Dodge of Pearl City
                                                                                                                     License NO. RD-4118
MIGNONETTE N OLIVAS                                                                                                  905 Kamehameha. Highway
                                                                                                                     Pearl •CIty,-Hawall,96782-2501
                                                                                                                     Ph:,(808)_5649316 Fax:(808) 564-9317
WAHIAWA, HI 967863690 •                                                                                              Visit Us online at: www.cuttercars,com
HOME               ONT:
BUS •                                                                                 SERVICE               VISOR. .9444 SHANNA HERRMANN
      COLOR          YEAR                 MAKE/MODEL:.:4-.::„' ,    :':,-,':f ."•.-,
                                                                                   -t. -; - ,    5    VIN': '           .,:LICENSE,':' '=:: MILEAGE INi.OUT       TAG


GRAY                  18       DODGE CHALLENGER                                   2C3CDZAGOJR217289                      TNS861      7222/7224         T7720
    DEL DATE .' PROD. DATE              WARR:''EXP.--.       ' PROMISED '' „_                   - 7‘:".' -PO NO.-t     - RATE,::::PAYMENT - • T INV: DATE

02APR18 - 1DD                          05FEB2021 14:0-0 28AUGI8 .:            140.00 , CASH                                                         14SEP18
    R.O. OPENED'                         READY"-    OPTIONS: SOLD-STK:101811.3 ENG:3.:'6 Liter

07:32 17AUG18 13:48 14SEP18                                                                     ..,
LINE OPCODE TECH TYPE HOURS
     854100'00 DIAGNOSTIC-
             1337 WPD
         FC: PART#: COUNT:
         CLAIM TYPE:    W
         APTH-CODE:-

          1130010.3 r&i .exhaust
                   1337 WPD.
             4. 68249370A13'Eidtv.kIT
             620 LA
             1 6823294 7AB :LUBRICANT7GEAR:
             1 68282414AC DIFFERENT:-REAR
             2 :6'5:1II7 :A.g.• BOLT: 14EX•:-.FLANGE
             1 :6•8232947.P03--LUPRICANT.-   - GEAR!i.: ' 1

                   PARTii: 68282414AC
                   COUNT: I
                   CLAIM TYPE:    W
                  -RUTH CODE:



  7224 CHECK FOR CONDITION, SHIFTED:INTO:•PETcRISEVER:Ag.:TIMES
  VEHICLE AND VISUAL INSPECT, FOUND EiCCE        -PLAY FROM 'REAR DIFFSIDE
  GEARS RECOMMEND: REAR RIFF 'THEN                                    REPAIRS ,:tiNDER
  WARRANTY. DOWN TJNIT * ****REMOVED EXHAUST SYSTEM; REMOVED: REAR •
  DRIVELINE REMOVED AXLES AND litEkRAritTE0OtTAri1-:::::-INOTKlitaf:REPtgEMENT _REAR
  DIFF, INSTALL AXLES _AND DRIVELINE :INSTALL EXHAUST; CHECK AND TOP OFF
  FLUID. ROAD. TEST OK
                           **************4c*********4(**,i*A:*****4(**4*1;*.***4c#*,!,-***
                                                                           -         :




                                                                                       'OF DISCLAIMER                    .. ,... DESCRIPTION   i         TOTALS
   ON BEHALF OF SERVICING DEALER, I HEREBY CERTIFY THAT'THE , STATE                                                                    :.NT
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   SHOWN. SERVICES DESCRIBED WERE PERFORMED AT NO CHARGE TO .• tho salo           'of this ItomUtorns. Iho              • PARTS AMOUNT
   OWNER. THERE WAS NO INDICATION FROM THE APPEARANCE OF THE          'Saw'heteby exoresiy dt‘c1alms all
   VEHICLE OR OTHERWISE, THAT ANY PART REPAIRED OR REPLACED             watrantlos (lithos mimosa or;.                      GAS, OIL, LUBE
   UNDER THIS CLAIM HAD BEEN CONNECTED.IN ANY WAY WITH ANY                    ° 1°6
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   ACCIDENT, NEGLIGENCE OR MISUSE, RECORDS SUPPORTING THIS "                mu
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   Case 1:19-cv-00454-DKW-RT Document 11-4 Filed 10/31/19 Page 27 of 33                                                                                            PageID #:
                                       703




CUSTOMER 4:11116598                                                                       34151
                                                                                                                    Cutter Chrysler Jeep Dodge of Pearl City
                                                                                          INVOICE.                 ;License No. RD-41 1 8 •
MIGNONETTE               N OLIVAS                                                                                   905 Kamohamaha Highway •
                                                                                                                    Pearltity, Hawaii 96782-2501 .-
                                                                                                                    Ph:(808)564-9316 Fax:(808) 564-9317
WAHIAWA, HI 967863690                                                                        PAGE-,4                Visit us online at: www.cuttercars.com
HOME      -       CANT
BUS:                                                                               SERVICE ADVISOR: 9444 SHANNA HERRMANN
    COLOR               YEAR             MAKEJMODEL •••             -:--                        VIN ,","- -                      LICENSE                 MILEAGE IN/ OUT          TAG


GRAY                     18 DODGE CHALLENGER           2C3CDZAGOJH217289                                                        TNS861      7222/7224       T7720
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                                                                                                             CONTACT           *
                                                                             :JESSE M ORGAN , SERVICE MANAGER a los - 564 -9803*
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          Case 1:19-cv-00454-DKW-RT Document 11-4 Filed 10/31/19 Page 28 of 33                                                                    PageID #:
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CUSTOMER It:11111116598
                                                                                                         Cutter Chryler Jeep Dodge of Pearl City
                                                                                                         License No. RD-4118
MIGNONETTE N, OLIVAS.                                                                                    905 Kamehameha Highway
                                                                                                         Pearl City, Hawaii96782-2501
WAHIAWA, HI 967863690',                                                                                  Ph:(808) 564-9316 Fax:(808) 564-9317
                                                                                       PAGE 1            Visit us online at: www.cultercars.com
HOME:              CONT
BUS:.              CELL:                                                       SERVICE ADVISOR: 9444 SHANNA HERRMANN
          COLOR                 YEAR                   MAKE/MODEL                    VIN          LICENSE  MILEAGE1NtOUT: •                                          TAG

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   ON BEHALF OF SERVICING DEALER, I HEREBY CERTIFY THAT THE      STATEMENT OF DISCLAIMER                             'OESCRIPTiON6.
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   NOTIFICATION AT THE SERVICING DEALER 'FOR INSPECTION BY    . SeIhoilmsanY -9111E''
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           Case 1:19-cv-00454-DKW-RT Document 11-4 Filed 10/31/19 Page 29 of 33                                                                  PageID #:
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CUSTOMER:#: 1111116598                                                                        36434
                                                                                                                   Cutter Chrysler Jeep Dodge of Pearl City
                                                                                              INVOICE              License No. RD-4118
MIGNONETTE .N                     OLIVAS.                                                                          905 Kamehameha Highway
                                                                                                                   Pearl City, Hawaii 96782-2501
                                                                                                                   Ph:(808) 564-9316 Fax:(808) 564-9317
WAHIAWA, HI 967863690                                                                           PAGE 1             Visit us online at: www.cuttercars:com
HOME:-_CONT
BUS:                                               "CELL::                                SERVICE ADVISOR: 9444 .SHANNA HERRMANN
         COLOR              YEAR                     MAKEVOOEL                                   :                      LICENSE        ' MILEPEANrOUT          TAG
GRAY                          18 DODGE CHALLENGER          2C3CDZAG0JH217289 TNS861                                                        7:319/7319     T2230
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                                                     * * * * * * *IMPORTANT** ** *.
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                                                     * :YOU MAY: RECEIVE.A CUSTOMER SATISFACTION
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                                                                                                                SERVICE .MANAGER 808 .-$:84-9803*
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                    .        .                                                                DISCLAIMER 4            '     DESCRIPTION              TOTALS.
    ON BEHALF OF SERVICING DEALER, I .HEREBY CERTIFY THAT. THE       STATEMENT OF         ,
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    VEHICLE OR OTHERWISE, THAT ANY PART REPAIRED OR REPLACED . warranties either exeunt(• or                            GAS, OIL, LUBE                  0.00
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    ACCIDENT, NEGLIGENCE OR, MISUSE. RECORDS SUPPORTING THIS . warranty 'of merchantability or                        '        A
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                                                                                                                       THIS AMOUNT                      0.00


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Case 1:19-cv-00454-DKW-RT Document 11-4 Filed 10/31/19 Page 30 of 33               PageID #:
                                    706




            VERIFICATION OF COMPLAINT AND CERTIFICATION


  STATE OF HAWAII
  COUNTY OF HAWAII

  Pursuant to Rule 7(g) of the Rules of the Circuit Courts of the State of Hawaii,
  Plaintiff, Mignonette Olivas, verifies, certifies, and declares as follows:

   1. I am the Plaintiffin this civil proceeding.

      I have read the above-entitled civil Complaint prepared by my attorney and I
      believe that all of the facts contained in it are true, to the best of my knowledge,
      information and beliefformed after reasonable inquiry.

  3. I believe that this civil Complaint is well grounded in fact and warranted by
     existing law or by a good faith argument for the extension, modification, or
     reversal ofexisting law.

  4. I believe that this civil Complaint is not interposed for any improper purpose,
     such as to harass any Defendant(s), cause unnecessary delay to any Defendant(s),
     or create a needless increase in the cost of litigation to any Defendant(s), named in
     the Complaint.

  5. I have filed this civil Complaint in good faith and solely for the purposes set forth
     in it.

  6. Each and every exhibit I have provided to my attorney which has been attached to
     this Complaint is a true and correct copy ofthe original.

  7. Except for clearly indicated redactions made by my attorneys where appropriate, I
     have not altered, changed, modified, or fabricated these exhibits, except that some
     ofthe attached exhibits may contain some of my own handwritten notations.

  I declare under penalty oflaw that the foregoing is true and correct.

  Executed on:     k 1 (
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                                           By:
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                                                        MIGNONETTE OLIVAS
             Case 1:19-cv-00454-DKW-RT Document 11-4 Filed 10/31/19 Page 31 of 33                                      PageID #:
                                                 707


                                                                                                      CASE NUMBER
           STATE OF HAWAII
              CIRCUIT COURT
                                                                           SUMMONS
           OF THE FIRST CIRCUIT                                     TO ANSWER CIVIL COMPLAINT
                                                                                                     19-1-0105-01 GWBC
    PLAINTIFF,                                                             VS.   DEFENDANT.
                                                                                  CUTTER CJD, INC.(d/b/a CUTTER DODGE
    MIGNONETTE OLIVAS                                                             CHRYSLER JEEP PEARL CITY), FCA US, LLC (d/
                                                                                  b/a CHRYSLER CORPORATION, and CHRYSLER
                                                                                  GROUP, LLC), and DOE DEFENDANTS 1-10




    PLAINTIFF'S ADDRESS(NAME,ADDRESS,TEL. NO.)
    Mignonette Olivas
    c/o Justin A. Brackett, Esq.
    515 Ward Avenue
    Honolulu, Hawaii 96814
    Tel: 808-377-6778




                 TO THE ABOVE-NAMED DEFENDANT(S)

                        You are hereby summoned and required to file with the court and serve upon
                  Justin A. Brackett, Esq., 515 Ward Avenue, Honolulu, Hawaii 96814

                 plaintiff's attorney, whose address is stated above, an answer to the complaint which is herewith
                 served upon you, within 20 days after service of this summons upon you, exclusive of the date of
                 service. If you fail to do so,judgment by default will be taken against you for the relief demanded
                 in the complaint.

                           THIS SUMMONS SHALL NOT BE PERSONALLY DELIVERED BETWEEN
                           10:00 P.M. AND 6:00 A.M. ON PREMISES NOT OPEN TO THE GENERAL
                           PUBLIC,UNLESS A JUDGE OF THE ABOVE-ENTITLED COURT PERMITS,
                           IN WRITING ON THIS SUMMONS, PERSONAL DELIVERY DURING
                           THOSE HOURS.

                           A FAILURE TO OBEY THIS SUMMONS MAY RESULT IN AN ENTRY
                           OF DEFAULT AND DEFAULT JUDGMENT AGAINST THE DISOBEYING
                           PERSON OR PARTY.
    DATE ISSUED                           CLERK
                                                                    SUMMON--
                                                                     DENIFD
    I do hereby certify that this is full, true, and correct copy   tEGN,P9g4M,OTs
    of the original on file in this office




          In accordance with the Americans with Disabilities Act and other applicable state and federal laws, if you require a reasonable
ra        accommodation for a disability, please contact the ADA Coordinator at the First Circuit Court Administration Office at PHONE NO.
          539-4333, FAX 539-4322, or TTY 539-4853, at least ten (10) working days prior to your hearing or appointment date.
Reprographics(07/11) RevaComm 508 Certified                                                           SUMMONS TO ANSWER CIVIL COMPLAINT 1C-P-787
             Case 1:19-cv-00454-DKW-RT Document 11-4 Filed 10/31/19 Page 32 of 33                                                             PageID #:
                                                 708


           STATE OF HAWAII                                                                                                   Civil Case Number:
              CIRCUIT COURT                                                SUMMONS
           OF THE FIRST CIRCUIT                                     TO ANSWER Amended Complaint
                                                                                                                             19-1-0105-01 GWBC
    PLAINTIFF,                                                                  VS.               DEFENDANT.
                                                                                                  CUTTER CJD, INC.(d/b/a CUTTER DODGE
    MIGNONETTE OLIVAS                                                                             CHRYSLER JEEP PEARL CITY), FCA US, LLC (d/
                                                                                                  b/a CHRYSLER CORPORATION, and CHRYSLER
                                                                                                  GROUP, LLC), and DOE DEFENDANTS 1-10




    PLAINTIFF'S ADDRESS(NAME, ADDRESS,TEL. NO.)
    Mignonette Olivas
    c/o Justin A. Brackett, Esq.
    515 Ward Avenue
    Honolulu, Hawaii 96814
    Tel: 808-377-6778




                 TO THE ABOVE-NAMED DEFENDANT(S)

                        You are hereby summoned and required to file with the court and serve upon
                  Justin A. Brackett, Esq., 515 Ward Avenue, Honolulu, Hawaii 96814
                                                                                  A mended Com plaint
                 plaintiff's attorney, whose address is stated above, an answer to the 4349444pioitel•which is herewith
                 served upon you, within 20 days after service of this summons upon you, exclusive of the date of
                 service. If you fail to do so,judgment by default will be taken against you for the relief demanded
                 in theAmended Complaint.

                           THIS SUMMONS SHALL NOT BE PERSONALLY DELIVERED BETWEEN
                           10:00 P.M. AND 6:00 A.M. ON PREMISES NOT OPEN TO THE GENERAL
                           PUBLIC,UNLESS A JUDGE OF THE ABOVE-ENTITLED COURT PERMITS,
                           IN WRITING ON THIS SUMMONS,PERSONAL DELIVERY DURING
                           THOSE HOURS.

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    I do hereby certify that this is full, true, and correct copy      Circuit_Court Clerk    -
    of the original on file in this office
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          In accordance with the Americans with Disabilities Act and other applicable state and federal laws, if you require a reasonable
          accommodation for a disability, please contact the ADA Coordinator at the First Circuit Court Administration Office at PHONE NO.
          539-4333, FAX 539-4322, or TTY 539-4853, at least ten (10) working days prior to your hearing or appointment date.
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Case 1:19-cv-00454-DKW-RT Document 11-4 Filed 10/31/19 Page 33 of 33                PageID #:
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        LAW OFFICES OF JUSTIN A.BRACKETT
                         515 Ward Avenue•Honolulu, Hawaii 96814




 March 1,2019


 FCA US,LLC
 do Brian Tilker, Attorney At Law
 700 Bishop St.
 Fl 15
 Honolulu, HI 96813-4116

 RE: Amended Complaint — Mignonette Olivas v. CUTTER CJD,INC. et. al.; Hawaii Circuit
 Court Civil # 19-1-0105-01 GWBC


 Dear Brian:

       Enclosed is the Amended Complaint in the above-referenced case. There have been no
 changes except the added signature. Have a wonderful day!



                                                         Sincerely,

                                                                      mcrnaituvo
                                                         Stacey McMahan,
                                                         Legal Assistant to
                                                         Justin A. Brackett, Esq.




               Telephone & Fax:(808)377-6778•E-mail:justinbrackettlaw@gmail.com
